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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

 MUNA AL-SUYID et al.,                  )
                                        )
       Plaintiffs,                      )
                                        )
 v.                                     )      Case No. 1:20-cv-00170 (LMB/JFA)
                                        )
 KHALIFA HIFTER,                        )
                                        )
       Defendant.                       )
                                        )

               MEMORANDUM IN SUPPORT OF MOTION
      TO WITHDRAW AS COUNSEL FOR DEFENDANT KHALIFA HIFTER

       Counsel can no longer effectively represent Defendant Khalifa Hifter in this

 matter as he has declined to communicate or cooperate with counsel. He has also

 failed to meet his obligations to pay the legal fees and expenses incurred in his

 defense. Unfortunately, the impasse has reached such a point that counsel can no

 longer effectively represent Mr. Hifter’s interests and continued representation would

 present an undue burden on counsel. For these reasons, Jesse R. Binnall, Lindsay R.

 McKasson, Jason C. Greaves, and the Binnall Law Group request leave to withdraw

 as counsel.1

                                    Legal Standard

       Under Local Rule 83.1(G), “[n]o attorney who has entered an appearance in

 any civil action shall withdraw such appearance, or have it stricken from the record,

 except on order of the Court and after reasonable notice to the party on whose behalf


 1Plaintiffs in this, and the two related cases of Hamza and Elzagally, do not oppose
 this motion.
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 said attorney has appeared.” In addition, the Virginia Rules of Professional Conduct

 1.16(b)(4)–(6) authorize the withdrawal if “the client fails substantially to fulfill an

 obligation to the lawyer regarding the lawyer’s services and has been given

 reasonable warning that the lawyer will withdraw unless the obligation is fulfilled,”

 if “the representation will result in an unreasonable financial burden on the lawyer,”

 or if “other good cause for withdrawal exists.”

       This Court has wide discretion in ruling on a motion to withdraw and may

 grant withdrawal where a Defendant fails to meet financial obligations to his

 attorneys, there is “an impasse in necessary communication and cooperation between

 counsel and client that precludes effective representation on a continuing basis,” and

 withdrawal does not interfere with the administration of justice. See Portsmouth

 Redevelopment & Hous. Auth. v. BMI Apartment Assocs., 851 F. Supp. 775, 782 (E.D.

 Va. 1994); Patterson v. Gemini Org. Ltd., No. 99-1537, 2000 WL 1718542, at *2 (4th

 Cir. Nov. 17, 2000); NGM Ins. Co. v. Secured Title & Abstract, Inc., No. 3:07-cv-536,

 2008 WL 1826032, at *1–2 (E.D. Va. April 23, 2008).

                                       Argument

       In this case, the Court should approve the motion because not only has

 Defendant failed to meet his financial obligations, but he has also materially failed

 to communicate or cooperate with counsel in his own defense. Defense counsel is

 unable to effectively represent Defendants’ interest as a result, and to require

 Defense counsel to continue representation under these conditions would be

 manifestly unreasonable.




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       First, Defendant has substantially failed to fulfill his financial obligations to

 this law firm and has been given reasonable warning that failure to do so will result

 in counsel seeking to withdraw. This Court has indicated, in BMI, that failure to meet

 financial obligations on its own can be sufficient to warrant withdrawal, because the

 conditions for withdrawal in the Virginia Rules of Professional Conduct are stated

 disjunctively. See BMI, 851 F. Supp. at 786. In that case, BMI owed its attorneys

 $44,000, and it was estimated that continued litigation could generate $200,000 in

 fees. Id. at 783, 785–86. Defendant in this case has been in arrears for months and

 owes a significant amount. Due to the complex nature of the litigation, and the three

 separate (but related) cases pending against him, continued litigation will generate

 substantial legal fees. Defendant has not offered any meaningful payments. Defense

 Counsel has repeatedly warned Defendant, over the course of months, that we would

 seek to withdraw if Defendant failed to stay current with outstanding invoices.

       Second, Defendant has ceased meaningful communication and cooperation

 with Defense Counsel. This Court has found—in the unpublished decision of NGM

 Ins. Co.—that when there is “an impasse in necessary communication and

 cooperation,” the justification for withdrawal is even more compelling than a simple

 failure to meet financial obligations. See NGM Ins. Co., 2008 WL 1826032, at *1–2.

 Attempts to discuss the Defendant’s obligations in this case and the others pending

 against the Defendant in this Court are now being ignored. Therefore, it is

 unreasonably difficult, and would be an unreasonable financial burden for Defense

 Counsel to continue representation of Defendant in this case.




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        Finally, withdrawal at this stage of litigation, where the trial date has not been

 set, would not interfere with the administration of justice. In BMI, this Court held

 that where the trial was not imminent, “[t]he only prejudice likely to occur . . . is the

 prejudice which always will exist when withdrawal is based on the client’s inability,

 or refusal, to pay a fee: substitute counsel may be difficult to obtain, or the client will

 be required to proceed pro se.” BMI, 851 F. Supp. at 786–87. The same is true in this

 case. It is worth noting that Plaintiffs in this case and the two related cases do not

 oppose withdrawal. Additionally, the only pending motions in this case are to be

 argued on June 10, 2022, the same date as this motion, which means that even if this

 Court allows withdrawal, Defendant will have the benefit of zealous representation

 through briefing and argument of the pending motions. Defendant has also been

 advised of all pending deadlines, that he should obtain alternate counsel

 expeditiously, and Defendant’s file can easily be transmitted to Defendant or his new

 counsel. The imposition on Defendant of withdrawal does not outweigh the

 unreasonable financial burden to Defense Counsel of remaining in this case and the

 unreasonable difficulty of representing Defendant’s interests—all due to Defendant’s

 own failures to make payments, to communicate, and to cooperate.

                                        Conclusion

        Defendant has materially failed to meet his obligations to Defense Counsel, he

 has failed to communicate or cooperate in the litigation, and continuation of

 representation at this point would impose an unreasonable financial burden upon

 Defense Counsel. Wherefore, Movants respectfully request that the Court enter an




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 Order permitting them to withdraw as counsel of record for Defendant Khalifa Hifter.



 Dated: May 27, 2022                          Respectfully submitted,

                                              /s/ Jason C. Greaves
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                            CERTIFICATE OF SERVICE

       I certify that on May 27, 2022, a copy of the foregoing was filed with the Clerk

 of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

 of record.


                                               /s/ Jason C. Greaves
                                               Jason C. Greaves
                                               Attorney for Defendant Khalifa Hifter
